              Case: 4:13-cr-00375-ERW Doc. #: 913 Filed: 04/11/17 Page: 1 of 8 PageID #: 3607
AO 245C (Rev. 11/16)      Sheet I- Amended Judgment in a Criminal Case



                                           United States District Court
                                                                         Eastern District of Missouri
                        UNITED ST ATES OF AMERICA                                       AMENDED JUDGMENT IN A CRIMINAL CASE
                                              v.
                             ISMAEL MIRANDA-ZARCO                                      CASE NUMBER: 4:13CR00375 ERW - 8
                       a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
                                                                                         USM Number: 47031-177
                                                                                                                  ---------------
                                                                                         Joseph Hogan
    Date of Original Judgment: _F_eb_ru_ary_.__2s_,_,_2_01_s_ _ _ _ _ _ __
                                                                                         Defendant's Attorney
   (Or date of last Amended Judgment)
    Reason for Amendment:
   1:81 Correction of Sentence on Remand (18 U.S.C. 3742(1)(1) and (2))                   0 Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
   D Reduction of Sentence for Changed Circumstances (Fed. R. Crim. P. 35(b))             O Modification of Imposed Term of Imprisonment for Extraordinary and
   D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                    Compelling Reasons (18 U.S.C. §§ 3582(c)(1))
                                                                                          D Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
   0 Correction of Sentence for Clericcil Mistake (Fed. R. Crim. P. 36)                           to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))
                                                                                          0       Direct Motion to District Court Pursuant to   0   28 U.S.C. § 2255 or
                                                                                                  D    10   u.s.c. § 3559(c)(7)
  THE DEFENDANT:                                                                          D        Modification of Restitution Order (18 U.S.C. § 3664)

   [8J   pleaded guilty to count(s)                 one and two of the indictment on October 14, 2014.
         pleaded nolo contendere to count(s)
  D      which was accepted by the court.    ---------------------------------
       was found guilty on count(s)
  D    after a plea of not guilty
  The defendant is adjudicated guilty of these offenses:                                                                             Date Offense   Count
 Title & Section                                            Nature of Offense                                                        Concluded    Number(s)
21 U.S.C. § 846                                         Conspiracy to Distribute Methamphetamine                                  September 2013             One
21 U.S.C. § 841(a)(l) and
21 U.S.C. § 841(b)(l)(A)
18 U.S.C. § 1956(a)(l)(B)(i)                            Conspiracy to Commit Money Laundering                                     September 2013             Two
18 u.s.c. § 1956(h)




      The defendant is sentenced as provided in pages 2 through                               7       of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  D      The defendant has been found not guilty on count(s)
  [8J    Count(s) three, four and five                                           are      dismissed on the motion of the United States.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                          April 11, 2017 (Original Judgment imposed February 25, 2015.)
                                                                                         Date of Imposition of Judgment


                                                                                              f.~~~~L•AJ
                                                                                          Signature of Judge

                                                                                          Honorable E. Richard Webber
                                                                                         Senior United States District Judge
                                                                                         Name & Title of Judge




                                                                                         Date signed

   Record No.:
              Case: 4:13-cr-00375-ERW
AO 245C (Rev. 11/16) Amended Judgment in a Criminal
                                                     Doc. #: 913 Filed: 04/11/17 Page: 2 of 8 PageID #: 3608
                                                    Sheet 2 - Imprisonment
                         ase
                                                                                                          Judgment-Page _2_      of   _7__
                   ISMAEL MIRANDA-ZARCO
  DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
  CASE NUMBER: 4:13CR00375 ERW - 8
  District:     Eastern District of Missouri
                                                            IMPRISONMENT
   The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of 170 months.


  This term consists of a term of 170 months on each of counts qne and two, such terms to be served concurrently. This sentence shall run
  concurrently with any sentence imposed in the Superior Court in King County and Island County, Washington under Docket Nos.
  98-1-00230-8 and 98-1-00156-0, pursuant to USSG §5Gl.3.




   ~     The court makes the following recommendations to the Bureau of Prisons:

  It is recommended that the defendant be evaluated for placement at a facility as close as possible to Sheridan, Washington. If that
  placement is rejected, then the defendant shall be placed at FCI Three Rivers, Texas, FCI Seagoville, Texas or FCC Lompoc, California.
  While in the custody of the Bureau of Prisons, it is recommended the defendant be evaluated for participation in the Residential Drug
  Abuse Program, and any educational/occupational programs for auto body repair or auto mechanics.


   ~     The defendant is remanded to the custody of the United States Marshal.

   D     The defendant shall surrender to the United States Marshal for this district:

          D     at                     a.m./pm on
         D      as notified by the United States Marshal.


  D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

         D      before 2 p.m. on

         D      as notified by the United States Marshal
         D      as notified by the Probation or Pretrial Services Office




                                   MARSHALS RETURN MADE ON SEPARATE PAGE
                  Case: Amended
 AO 245C (Rev. 11/16)
                        4:13-cr-00375-ERW
                                Judgment in a Criminal
                                                       Doc. #: 913 Filed: 04/11/17 Page: 3 of 8 PageID #: 3609
                                                       Sheet 3 - Supervised Release

                                                                                                                   Judgment-Page _3_ of _7__
                      ISMAEL MIRANDA-ZARCO
     DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
     CASE NUMBER: 4:13CR00375 ERW - 8
     District:     Eastern District of Missouri


                                                          SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of five years.     ~---"-~~~~~~




     This term consists ofa term of five years on count one and three years on count two, such terms to run concurrently, for an aggregate term
     of five years. If not deported, within 72 hours ofrelease from the custody of the Bureau of Prisons, the defendant shall report in person to
     the probation office in the district to which the defendant is released.




                                                        MANDATORY CONDITIONS
I.     You must not commit another federal, state or local crime.
2.     You must not unlawfully possess a controlled substance.
3.     You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
       imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                  D     The above drug testing condition is suspended, based on the court's determination that you
                        pose a low risk of future substance abuse. (check if applicable)

4.          181    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5.          D      You must comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
                   et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in
                   the location where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)

6.          D      You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached page.
                 Case: 4:13-cr-00375-ERW Doc. #: 913 Filed: 04/11/17 Page: 4 of 8 PageID #: 3610
 AO 245C (Rev. 11/16)   Amended Judgment in a Criminal   Sheet 3A - Supervised Release
                                                                                                                                 4_ of _7__
                                                                                                                  Judgment-Page __
                      ISMAEL MIRANDA-ZARCO
     DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
     CASE NUMBER: 4:13CR00375 ERW - 8
     District:    Eastern District of Missouri


                                             STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release
       from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the
       probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take
       any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing
       so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from
       doing so. If you plan to change where you work or anything about your work (such as your position or your job responsibilities), you must
       notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in advance is not possible
       due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
       change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted
       of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
    designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
    getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may require you
    to notify the person about the risk and you must comply with that instruction. The probation officer may contact the person and confirm
    that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this judgment
containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised Release Conditions,
available at: www.uscourts.gov.



Defendant's Signature                                                                                      Date
             Case: 4:13-cr-00375-ERW Doc. #: 913 Filed: 04/11/17 Page: 5 of 8 PageID #: 3611
AO 245C (Rev. 11116)    Amended Judgment in a Criminal   Sheet 3B - Supervised Release

                                                                                                             Judgment-Page _5_ of _7__
                   ISMAEL MIRANDA-ZARCO
  DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
  CASE NUMBER: 4:13CR00375 ERW - 8
 District:      Eastern District of Missouri
                                        ADDITIONAL SUPERVISED RELEASE TERMS
  While on supervision, the defendant shall comply with the standard conditions that have been adopted by this Comt and shall comply with
  the following additional conditions. If it is determined there are costs associated with any services provided, the defendant shall pay those
  costs based on a co-payment fee established by the probation office.
  I. The defendant shall refrain from any unlawful use of a controlled substance and submit to a drug test within 15 days of commencement
  of supervision and at least two periodic drug tests thereafter for use of a controlled substance.

  2. The defendant shall participate in a substance abuse treatment program approved by the probation office, which may include substance
  abuse testing, counseling, Residential Re-entry Center placement, residential or inpatient treatment.

  3. The defendant shall submit his person, residence, office, or vehicle to a search conducted by the probation office based upon reasonable
  suspicion of contraband or evidence of a violation of a condition of release. The defendant shall warn any other residents that the premises
  may be subject to searches pursuant to this condition.

  4. The defendant shall participate in all deportation proceedings and remain outside the United States, if deported.
              Case: 4:13-cr-00375-ERW Doc. #: 913 Filed: 04/11/17 Page: 6 of 8 PageID #: 3612
AO 245C (Rev. 11/16)   Amended Judgment in a Criminal   Sheet 5 - Criminal Monetary Penalties

                                                                                                                             Judgment-Page   _6_    of   _7__
                            ISMAEL MIRANDA-ZARCO
 DEFENDANT: a!k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
 CASE NUMBER: 4:13CR00375 ERW - 8
 District: Eastern District of Missouri
                                                   CRIMINAL MONETARY PENALTIES
 The defendant must pay the total criminal monetary penalties under the schedule of payments on sheet 6
                              Assessment              JVTA Assessment*                    Fine                                        Restitution

       Totals:                    $200.00

 D      The determination of restitution is deferred until
                                                                         - - - - - . An Amended Judgment in a Criminal Case (AO 245C)
        will be entered after such a determination.



  D     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
 If the defendant makes a partial payment, each payee shall receive an approximately proportional payment unless specified
 otherwise in the priority order or percentage payment column below. However, pursuant ot 18 U.S.C. 3664(i), all nonfederal
 victims must be paid before the United States is paid.

 Name of Payee                                                                                  Total Loss*       Restitution Ordered Priority or Percentage




 D Restitution amount ordered pursuant to plea agreement


 D The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
   before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
       Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D The court determined that the defendant does not have the ability to pay interest and it is ordered that:
         D     The interest requirement is waived for the.                    D      fine                D    restitution.
         D     The interest requirement for the         D     fine     D      restitution is modified as follows:




*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
** Findings for the total amount of losses are required under Chapters 109A, 110, 11 OA, and 113A of Title 18 for offenses committed on or
after September 13, 1994 but before April 23, 1996.
                 Case:Amended
AO 245C (Rev. 11/16)
                       4:13-cr-00375-ERW
                              Judgment in a Criminal
                                                         Doc. #: 913 Filed: 04/11/17 Page: 7 of 8 PageID #: 3613
                                                     Sheet 6 - Schedule of Payments

                                                                                                                          Judgment-Page    _7_      of   _7__
                   ISMAEL MIRANDA-ZARCO
  DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
  CASE NUMBER: 4: 13CR00375 ERW - 8
  District:        Eastern District of Missouri
                                                         SCHEDULE OF PAYMENTS
        Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

   A    1:81    Lump sum payment of _$_2_00_._oo_ _ __          due immediately, balance due

                                    D   not later than                               , or

                                    [81 in accordance with   D    C,   D    D, or      D    E below; or    1:81   F below; or

  BD           Payment to begin immediately (may be combined with                D    C,    D      D, or    D      E below; or   D   F below; or

  CD           Payment in equal                   (e.g., equal, weekly, monthly, quarterly) installments of                            over a period of

              - - - - - - e.g., months or years), to commence                                (e.g., 30 or 60 days) after the date of this judgment; or

  D    D      Payment in equal                    (e.g., equal, weekly, monthly, quarterly) installments of                       over a period of
                                  e.g., months or years), to commence                      (e.g., 30 or 60 days) after release from imprisonment to a
        term of supervision; or
 E     D       Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after Release from
               imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time: or
  F    1:81     Special instructions regarding the payment of criminal monetary penalties:
IT IS FURTHER ORDERED that the defendant shall pay to the United States a special assessment of $100 on each of counts one and two, for a total of $200,
which HAS BEEN PAID IN FULL.

   Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
   during the period of imprisonment. All criminal monetary penalty payments, except those payments made through the Bureau of Prisons'
   Inmate Financial Responsibility Program are made to the clerk of the court.

   The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.




   D          Joint and Several
                Defendant and Co-defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
                and corresponding payee, if appropriate.




  D           The defendant shall pay the cost of prosecution.

  D           The defendant shall pay the following court cost(s):




  k8J      The defendant shall forfeit the defendant's interest in the following property to the United States:

 Under 21 U.S.C. §853, the defendant has forfeited all of his right, title and interest in the property previously identified in the First and
 Second Forfeiture Allegations in the indictment filed September 19, 2013.



  Payments shall be applied in the following order: (1 ) assessment; (2) restitution principal, (3) restitution interest, (4) fine principal,
  (5)fine interest (6) community restitution.(7) penalties, and (8) costs, including cost of prosecution and court costs.
       Case: 4:13-cr-00375-ERW Doc. #: 913 Filed: 04/11/17 Page: 8 of 8 PageID #: 3614
                                                                          ISMAEL MIRANDA-ZARCO
                                                         DEFENDANT: a/k/a Mikey, Gilbert Garcia, Rogelio P. Cavillo
                                                         CASE NUMBER: 4:13CR00375 ERW- 8
                                                          USM Number: 4 7031-177
                                                                        ----------~


                               UNITED STATES MARSHAL
                         RETURN OF JUDGMENT IN A CRIMINAL CASE
I have executed this judgment as follows:




The Defendant was delivered on - - - - - - - to          -----------------~




at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                         UNITED STATES MARSHAL


                                                    By
                                                             Deputy U.S. Marshal




D      The Defendant was released on - - - - - - - to- - - - - - - - Probation

D      The Defendant was released on _ _ _ _ _ _ _ to_ _ _ _ _ _ _ _ Supervised Release

D       and a Fine of- - - - - - - -        D and Restitution in the amount of- - - - - - - - -



                                                         UNITED STATES MARSHAL


                                                    By
                                                             Deputy U.S. Marshal


I certify and Return that on _ _ _ _ _ _ , I took custody of - - - - - - - - - - - - - -

at
     ----------- and delivered same t o - - - - - - - - - - - - - - - -
on   -------------~
                                            F.F.T. - - - - - - - - - - - - - - - - - -
                                                         U.S. MARSHAL E/MO

                                                     ByDUSM _ _ _ _ _ _ __
